                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                               NORTHERN DIVISION

RED WOLF COALITION,                       )
DEFENDERS OF WILDLIFE, and                )
ANIMAL WELFARE INSTITUTE                  )
                                          )
                      Plaintiffs,         )
                                          )
v.                                        )        JUDGMENT
                                          )        No. 2:15-CV-042-BO
                                          )
UNITED STATES FISH AND WILDLIFE )
SERVICE; JIM KURTH, in his official       )
capacity as Acting Director of the United )
States Fish and Wildlife Service; and     )
MIKE OETKER, in his official capacity as )
Acting Regional Director of the United    )
States Fish and Wildlife Service          )
Southeast Region,                         )
                                          )
                       Defendants.        )



Decision by Court.
This cause comes before the Court on cross-motions for summary judgment pursuant to Rule 56
of the Federal Rules of Civil Procedure.

IT IS ORDERED, ADJUDGED, AND DECREED that plaintiffs’ motion for summary
judgment [DE 79] is GRANTED IN PART and DENIED IN PART. Plaintiffs’ third claim for
relief is DISMISSED as MOOT, and plaintiffs’ are entitled to summary judgment in their favor
on their remaining claims. Defendants’ motion for summary judgment [DE 85] is GRANTED
IN PART as to plaintiffs’ third claim for relief and DENIED IN PART as to plaintiffs’ remaining
claims.


IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that declaratory and injunctive
relief is ORDERED as provided in the Court’s order entered November 4, 2018.

This Judgment was filed and entered on November 5, 2018, and copies sent to:
Derb Carter, Jr. (via CM/ECF Notice of Electronic Filing)
Sierra Weaver (via CM/ECF Notice of Electronic Filing)
Heather Hillaker (via CM/ECF Notice of Electronic Filing)
Jean Ye Zhuang (via CM/ECF Notice of Electronic Filing)



         Case 2:15-cv-00042-BO Document 102 Filed 11/05/18 Page 1 of 2
Ramona McGee (via CM/ECF Notice of Electronic Filing)
Christopher Anderson (via CM/ECF Notice of Electronic Filing)
Lesley Lawrence-Hammer (via CM/ECF Notice of Electronic Filing)
Michelle-Ann Williams (via CM/ECF Notice of Electronic Filing)
Neal Fowler (via CM/ECF Notice of Electronic Filing)



DATE                                    PETER A. MOORE, JR., CLERK
November 5, 2018                             By: /s/ Lindsay Stouch
                                             Deputy Clerk




        Case 2:15-cv-00042-BO Document 102 Filed 11/05/18 Page 2 of 2
